                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION


UNITED STATES OF AMERICA                            )       DOCKET NO. 5:06CR30-5
                                                    )
               v.                                   )       ORDER UNSEALING
                                                    )       MOTION FOR DOWNWARD
DESMOND O’NEIL THOMPSON                             )       DEPARTURE




       UPON MOTION of the United States of America, by and through Gretchen C.F.

Shappert, United States Attorney for the Western District of North Carolina, for an order

directing that the Motion for Downward Departure in the above-captioned case be unsealed; and

       IT APPEARING TO THE COURT that there no longer exists any danger attendant to the

investigation in this case;

       NOW, THEREFORE, IT IS ORDERED that the Motion for Downward Departure in the

above-captioned case be unsealed.

       SO ORDERED.

                                                Signed: October 28, 2008




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